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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

WENZHU GUO,                             )
                                        )
      Petitioner,                       )
                                        )
v.                                      )            Case No. CIV-20-477-D
                                        )
RALPH HANSON, Warden,                   )
                                        )
      Respondent.                       )

                                       ORDER

      Upon review of the file and noting no timely objection to the findings and

recommendations of United States Magistrate Judge Gary M. Purcell pursuant to 28 U.S.C.

§ 636(b)(1), the Court adopts the Report and Recommendation [Doc. No. 23], in its

entirety. For the reasons stated therein, this action is DISMISSED WITHOUT

PREJUDICE to refiling.

      IT IS SO ORDERED this 20th day of October, 2020.
